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UNITED S'TATES_ DIS-TRICT C()_URT FOR THE
-SOU'I`HER.N D`ISTRICT OF FLORIDA

 

CASE NO.':

GARFIELD 'I`HOM_PSON,

'Plaintiff,
vs.
AKAL SEC.URITY, INC.,
a F_oreign Profit Co_rporation-,

`Defendant.

/
COMPLAINT

COMES- NOW Plaintiff, GARFIELD THO_l\/IPSON (“Plaintiff”), by and through the
undersigned counsel, and hereby sues Defendant, AKA-L SECURITY, INC. ("‘Defen'dant-”), and
alleges as follows:

l. _This is an action for declaratory and injunctive relief and damages pursuant to Ti_t_le VII of
the Civil Rights Act of`19_64, 42 U._S.C. § 2000e-2 (_“Title VII”);_ the Florida Civil Rights Act of
1992, Florida Statutes-, Ch'ap_ter 760', et Seq.. ("FCRA"); and the Civil Rights Act of 1866,_ 42 U.S.._C.
§1981 '(“§ 1981”), to redress injuries resulting from Defend_ant’s unlawful race- and national~
origin-based discriminatory treatment of Plaintiff.

2. At all tirnes material hereto, Plaintiff Wa_s a resident of Miarni D_ade County, Florida.

3. De_fendan_t is a Foreign Proi`lt Corporation authorized to conduct business in the State of
Florida, Where Plaintiff Worked for Defendant.

4. Venue is proper in the Southern District of Florida pursuant to 28 U.S.-C. Sect_ion 1391(b)
because the employment practices hereafter alleged to be unlawful Were committed Within the

jurisdiction of the _Sout_hern Distri_ct of Flori_da.

 

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5-. Plaintiff'is a Blacl< individual of Jamaican national-origin, and within a class of individuals
protected by Title VII, the FCRA, and § 1981.

6. Plainti_ff commenced employment as a Detention Officer With. Defendant on or about
F`ebrua;ry 25, 2009.

7. On_ `October 17, 201_6, A?ss-istant Projecjt l\/ianager, J'o‘s'e_ph Olmedo (White, l-Iispanic),
suspended Plaintiff due to false-sexual harassment claims asserted by a female -coworker.

8. When Plaintiff returned to Work,_ he Was not permitted to bid to work certain preferred
shifts despite being entitled to do so pursuant to a collective bargaining agreement between
Defendant and Plaintiff’ s union.

9. There`after, Sebastian Serrano (White, Hispanic) was given the shift Plaintiff had bid for
despite having less seniority than Plaintiff. Serrano. was also friends with Olmedo and another
l\/ianager,. Jorge Perez (White, Hispanic).

10. Plaintiff then filed a grievance-with his union indicating his belief that he was"'not given his
preferred shift assignment_which instead was given to Se_rrano-on a discriminatory basis
because of Plaintift’s race, cclor, and national origin

ll. Plaintiff also, on January l`O,_ 20l7, timely filed a Charge of Diserimination alleging
discrimination on the basis of race and national origin with the Equal Ern_ployment Opportunity
Commission (Charge No. 15C--20`l 7-00023) and the Miami-Dade County C"ornmission on Hurnan
Rights (Charge No. F-6287).

12. Less than one month later, on or about F-ebruary 6_, 2017, Defendant terminated PlaintifPs

employment in retaliation for the union grievance and charges of discrimination

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1.3. Any reason proffered by Defendant for Plaintifi’s termination is mere.pretext for unlawful
discrimination Through_out his employment Plaintiff was able to perform the essential functions
of his job duties and responsibilities, and at all relevant times he did perform his job at satisfactory
or above-satisfactory levels

14. On or about March 14, 2017, Plaintiff filed an amended Charge of -Discrimination with the
Equal E-rnploym_ent Opportu'nity' Commission'indicating that the C_harge should also be filed with
the Florida Commi-ssion on Hnman Rel-ations.

_15. On or about Decemb.er 1,2017', the EEOC_ issued a Dismissal and Notice of Rights.

MH
Race Discrimination in `Vz'olation of Title VII

16. Plaintiff re.-adopts each and every factual allegation as stated in paragraphs l-'15 of this
complaint as if set out in full he-rein.

l7. Plaint_iff is a member of a protected class under Title VII.

lS. By the conduct describe above, Defendant has engaged in discrimination against _Plaintiff
because of`Plaintiff’ s race and subjected the Plaintiff to animosity based on race-.

19. Such discrimination was based upon the Pl_aintiff" s race in that Plaintiff would not have
been the object of discrimination but for the fact that Plaintiff is Black.

20. Defendant’s conduct complained of herein was willful and in disregard of Plain`t`iff’s
protected ri ghtS. Defendant and its supervisory personnel were aware that discrimination on the
basis of race was unlawful but acted in.recl<dess disregard of the law.-

21. At all times material hereto, the employees exhibiting discriminatory conduct towards
Plaintiff possessed the authority to affect the terms, conditions, and privileges of Plaintiff’s
employment with the Defendant.

22. _Defendant retained all employees who exhibited discriminatory conduct toward the

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Plaintiff - and did so despite the knowledge of said employees engaging in discriminatory actions

23. As a result of Defendant’s 'actions, as alleged herein, Plaintiff has been deprived of rights,
has been exposed to ridicule and embarra-ssment, and has suffered emotional distress and damage

_24. The conduct of Defendant, by and through the conduct of its agents, employees, and/or
representatives, and the Defendant’s failure to make prompt remedial action to prevent continued
discrimination against the Plaintiff,' deprived the Plaintiff of statutory rights under federal law.

25 . The actions of the Defendant andfo_r its agents were willfui, wanton, and intentional, and
with malice or reckless indifference to the Plaintift`s statutorily protected rights, thus entitling
'Plaintiff to damages in the form of compensatory and punitive damages pursuant to federal law,
to punish the lDef.endant for its actions and to deter it, and others,_ from such action in the future.

2`6. Plai.ntiff has suffered and will continue to suffer both irreparable injury and compensable
damages as a result of Defendant-’s discriminatory practices unless and until this Honorable Court
grants relief.

WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

a. Adj-udge and decree that Defendant has violated Title `VII,_ and has done so willfully,
intentionally, and with reckless disregard for Plaintiffs’ rights;

b. Enter a judgment requiring that Defendant pay Plaintiff appropriate back pay, benefits
adjustment, and prejudgment interest at amounts t_o be proved at trial for the unlawful
employment practices described herein;.

c. Entjer an award against Defendant and award Plaintiff compensatory damages for
mental anguish, personal suffering, and loss-of enjoyment of .life;

d. Require Defendan_t to reinstate Plaintiff to the position at the rate of pay and with the

full benefits Plaintiff would have had Plaintiff not been discriminated against by

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Defendant, or in lieu of reinstatement, award front pay_;
e. Award Plaint_iff the costs cf this action, together with a reasonable attorney fees_; and
f. Grant Plainti_ff such additional relief as the Court deems just and proper under the
circumstances

COUNT ll
National Origin Discriminal‘ion in Violat`ion of Title VII

2-7. Plaintiff re-adopts each and every factual allegation as stated in paragraphs l-15 of this
complaint as if set out in full herein.

2'8. Pla_intiff is a member of a protected class under Title V.ll.

29. By the conduct describe abo_ve,_ Defendant has-engaged in discrimination against Plaintiff
because of `Plaintiff’ s national origin and subjected the Plaintiff to animosity based on national
origin

-3(). Such discrimination was based upon the Plainti`ff’ s national origin in that .Plaintiff would
not have been the object of discrimination but for the fact that Plaintiff is Haitian.

31. D'efend'ant’s conduct complained of herein was willful and in disregard of Plain'tift_’ s
protected rights Defendant and its supervisory personnel were aware that discrimination on the
basis of national origin was unlawful but acted in reckless disregard of the law.

32. At all times material hereto, the employees exhibiting discriminatory conduct towards
Plaintiff possessed the authority to affect the terms, conditions, and privileges of Plaint_iff’ s
employment with the Defend_ant.

33. Defendant retained all employees who exhibited discriminatory conduct toward the
Plaintiff and did so despite the knowledge of said employees engaging in discriminatory actions

34. As a result of Defendant’s actions, as alleged herein, Plaintiff has been deprived of rights,

has been exposed to ridicule and embarrassment, and has suffered emotional distress and damage

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35. The conduct of Defendant, by and through the conduct of its agents,_ employees and/or
representatives and the Defendant’s failure to make prompt remedial action to prevent continued
discrimination against the Plaintif_f,- deprived the Plai_ntiff of statutory rights under federal law.

36. The actions of the Defendant and/or its agents were willful, wanton, and intentional, and
with malice or reckless indifference to the Plaintiffs statutorily protected rights thus entitling
Plaintiff to damages in the form of compensatory and punitive damages pursuant to federal law,
to' punish the-`Defendant for its actions and to deter it, and others.,.from such action in the future

37. Plaintiff has suffered and will continue to suffer both irreparable injury and compensable
damages as a result of Defendant’s discriminatory practices unless and until this Honorable Court
grants relief
WHEREFORE, _Plaintiff respectfully prays for the following relief against Defendant:

a. Adjudge and decree that Defendant has violated Title VII, and has done so wi-llfully,
intentionally, and with reckless disregard for Plaintiffs’ rights;

b. Enter a judgment._requiring'mat Defendant pay Plaintiff appropriate back pay, benefits
adjustment, and prejudgment interest at amounts to be proved at trial for the unlawful
employment practices described .herein;

c. Enter an award against 'Defendant and award Plaintiff compensatory damages for
mental anguish, personal suffering and loss of enjoyment of life;

d.. Require Defendant to reinstate Plaintiff to the position at the rate of pay and with-the
full benefits Plaintiff Would have had Plaintiff not been discriminated against by
Defendant, or in lieu of reinstatement, award front pay;

e.. Award Plaintiff the costs of this action, together with a reasonable attorney fees; and

f. Grant Plaintiff such additional relief as the Court deems just and proper under the

 

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circumstances

COUNT III
Rac_e Discrimination in Vi_olation ofth'e FCRA

38. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-15 above as
if set out in full herein.

39. Plaintiff'.is a member of a protected class under the FCRA..

40. By the conduct describe 'above, Defendant has engaged in discrimination against Plaintiff
because of Plaintiff s race and subjected the Plaintiff to race-based animosity.

41. Such discrimination was based upon the Plaintiff s` race in that Plaintiff would not have
been the object of discrimination but for the fact that Plaintiff is` Black.

42. Defendant’js conduct complained of herein was willful and in disregard of Plaintiff-s
protected rights Defendant and its supervisory personnel were aware that discrimination on the
basis of Plaintiff’ s disability was unlawful but acted in reckless disregard of the law.

43. At all times material hereto, the employees exhibiting discriminatory conduct towards
Plaintiff possessed the authority to affect the terms, conditions,_ and privileges of Plaintiff’ s
employment with the Defendant.

44. Defendant retained all employees who exhibited discriminatory conduct toward the
Plaintiff and did so despite the knowledge of said employees engaging in discriminatory actions

45. As a result of Defendant"s .acti_ons, as alleged herein, Plaintiff has been deprived of rights,
has been exposed to ridicule and embarrassment, and has suffered emotional distress and damage

46-. The conduct of Defe_ndant, by and through the conduct of its agents, empl-oyees, and/or
repre'sentative's, and the Defendant’s- failure.to make prompt remedial action to prevent continued
discrimination against the Plaintiff,. deprived the Plaintiff of statutory rights under federal law.

47. T_he actions of the Defendant and/or its agents were willful,. wanton, and intentional, and

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with malice or reckless indifference to the Plaintiffs statutorily protected rights, thus entitling

Plaintiff to damages in the form of compensatory and punitive damages pursuant to federal law,

to punish the Defendant for its actions and to deter it, and others, from such action in the future
48. Plaintiff has suffered and will continue to suffer both irreparable injury and compensable

damages as a result of Defendant’s discriminatory practices unless and until this Ho_norable Court

grants relief.

WHEREFORE, Plaintiffs respectfully prays for the_following relief against Defendant:

a. Adjudge and.decree that'Defendant`has violated the FCR_A, and has done so willfully,
intentionally, and with reckless disregard for Plaintiff"s rights;-

b. Enter a judgment requiring that Defendant` pay Plaintiff appropriate back pay, benefits'
adj-ustment, and prejudgment interest at amounts to be proved at trial for the unlawful
employment practices described herein;

c. Enter an award against Defendant and award Plaintiff compensatory damages for
mental an'guish, personal suffering, and loss of enjoyment of life',

d_. Re'quire Defendant to reinstate`Plai`ntiff to the position at the rate of pay and with the
full benefits Plaintiff would have had Plaintiff not been discriminated against by
Defendant; or in lieu of reinstatement, award front pay;`

e. Awa`rd Plaintiff the costs of this action, together with a reasonable attorney fees; and

f. Grant.. Plaintiff such additional relief as the Court deems just and proper under the
circumstances

COU.NT IV_
National Origin Discrl'mination in Vio_lation the FCRA

49. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-15 of this

complaint as if set out in full herein.

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5 O. Plaintiff is a member of a protected class under the _FCRA.

5-l. By the conduct describe above, Defendant has engaged in discrimination against Plaintiff
because of Plaintiff’s national origin and subjected the Plaintiff to animosity based on national
origin..

52. Such discrimination was based upon the Plaintifi’s national origin in that Plaintiff would
not have been the object of discrimination but for the fact that Plaintiff is Hai.tian.

53. Defendant’s conduct complained of herein was willful and in disregard of Plaintiff’s
protected rights Defendant and its supervisory personnel were aware that discrimination on the
basis of national origin was unlawful but acted in reckless disregard of the law.

54. At all times material hereto, the employees exhibiting discriminatory conduct towards
Plaintiff possessed the authority to affect the terms, conditions and privileges of Plaintift`s
employment with the Defendant.

55. Defendant' retained all employees who exhibited discriminatory conduct toward the
Plaintiff and did so despite the knowledge of said employees engaging in discriminatory actions

56. As a result of 'Defendant’s iactions,_ as alleged herein, Plaintiff has been deprived of rights,
has been exposed to ridicule and embarrassment, and`has suffered emotional distress and damage

57. The conduct of Defendant, by and through the conduct of its agents, employees, and/or
representatives and the Defendant’s-failure to- make'prompt remedial action to prevent continued
discrimination against the Plaintiff, deprived the Plaintiff of statutory rights under federal law.

'58. The actions of the Defendant and/or its agents were willful, wanton, and intentional, and
with malice or reckless indifference to the Plaintiff’s statutorily protected rights-, thus entitling
Plaintiff to damages in the form of compensatory and punitive damages pursuant to federal law,

to punish the `Defendant for its actions and to deter it, and others, from such action in the future

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59. Plaintiff has suffered and will continue to suffer both irreparable injury and compensable
damages as a result of Defend'ant’s discriminatory practices unless and until this Honorable Court
grants relief.

WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

a-. Adjudge and decree that Defendant has violated Title Vll, and has done so willfully,
intentionally, and with reckless disregard'for Plaintiffs’ rights;

b. Enter a judgment requiring'that Defendant pay Plaintiff appropriate back pay, benefits'
-adjustment, and prejudgment interest at amounts to be proved at trial for the unlawful
employment practices described herein;

c. Enter an award against Defendant and award Plaintiff compensatory damages for
mental anguish, personal suffering, and loss of enjoyment of life;

d. Require Defendant to reinstate Plaintiff to the position at the rate of pay and with the
full benefits Plaintiff would have had Plaintiff not been discriminated against by
Defendant,_ or in lieu of reinstatement, award front pay;

e. Award`Plaintiff the costs of this acti_on, together with a reasonable attorney fees;, and

f. Grant. Plaintiff such additional relief as the Court deems just and proper under the

circumstances

COUNT 'V
Race Discrc'mination in Vio'lation of 42 U.S.C. § 1981

60. Plaintiff re~adopts each and every factual allegation as stated in paragraphs 1~16 of this
complaint as if set out in full herein.

61. Plaintiff is a member of a protected class under § 1981.

62. By the conduct describe above, D_efend-ant has engaged in discrimination against Plaintiff

because of Plaintiff’ s race and subjected the Plaintiff to race-based animosity.

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63. Sueh discrimination was based upon the Plaintist race in that Plaintiff would not have
been the object of discrimination but for the fact that Plaintiff is Black.

64. Defendant’s conduct complained of herein was willful and in disregard of Plaintiff’s
protected rights. Defendant and its supervisory personnel were aware that discrimination on the
basis of race was unlawful but acted in reckless disregard of the law.

65. _At all times material hereto, the employees exhibiting discriminatory conduct towards
Plaintiff possessed the authority to affect the terms, conditi'ons, and privileges of Plaintiff"s
employment with the Defendant.

66 . Defendant retained all employees who exhibited discriminatory conduct toward the
Plaintiff and.did so de'spite`the knowledge of said employees engaging in discriminatory ac.tions.

67. As a result of Defendant’s actions, as alleged herein, Plaintiff has been deprived of rights,
has been exposed to ridicule and embarrassment, and has suffered emotional distress and damage

68. The conduct of Defendant, by and through the conduct of its agents, employees, and/or
representatives, and the Defendant’s failure to make prompt remedial action to prevent continued
discrimination against the Plaintiff, deprived the Plaintiff of statutory rights under federal law.

69. The actions of the Defendant and/or its agents were willful, wanton, and intentional, and
With malice or reckless indifference to the Plaintiff’ s statutorily protected rights, thus entitling
Plaintiff to damages in the form of compensatory and punitive damages pursuant to federal law,
to punish the Defendant for its actions and to deter it, and others_, from such action in the future

7(). Plaintiff has suffered and will continue to suffer both irreparable injury and compensable
damages as a.result of Defendant’s discriminatory practices unless and until this H_onorable Court

grants relief

71. So that Plaintiff’ s rights'rnay be protected, Plaintiff has retained the undersigned counsel

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who is entitled to atto'rney"s_ fees pursuant to 42 U.S..C.. § 1988, the Civil Rights Atto`rneys Fe_e
Award .Act.
WHEREFORE, Plaintiffs respectfully prays for the following relief against Defendant:

a. Adjudge and decree that Defendant has violated 42 U,S.`C__. § l981, and has done so
willfully,_ intentionally, and with reckless disregard for Plaintift"s rights;

b. Enter a judgment requiring that Defendant pay Plaintiff appropriate back pay, benetits'
adj ustment, and prejudgment interest at amounts to be proved at trial for the unlawful
employment practices described herein;

c. Enter an award against Defendant and award Plaintiff compensatory damages for
mental anguish, personal suffering,. and loss of enjoyment of life;

d. Require Defendant to reinstate Plaintiff to the position at the rate of pay and with the
full benefits Plaintiff would have had Plaintiff not been discriminated against by
Defendant, or in lieu of reinstatement, award front pay;

e. Award Plaintiff the costs of this action, together with a reasonable attorney fees; and

f. Grant Plaintiff such additional relief as the Court deems just and proper under the

circumstances

COUNT`VI
Retaliafion in Violat‘ion of Title- WI, the FCRA, and 42 U..S'.C. § 1981

72._Plaintiff trc-adopts each and every factual allegation as stated in paragraphs 1-15 _of this
complaint as if set out in full herein.

73. Plaintiff is a member of a protected class under Title Vll, the FCRA, and § 1981.

74... By the conduct describe above, Defendant: retaliated against Plaintiff for exercising rights
protected under Title VII, the FCR'A, and § 198].

75. Defendant’s conduct complained of herein was willful and in disregard of Plaintiff’s

 

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protected ri-ghts. Defendant and its supervisory personnel were aware that discrimination on the
basis of race Was unlawful but acted in reckless disregard of the law.
76. As a result of Defendant’s. actions, as alleged herein, Plaintiff has been deprived of rights,
has been exposed to ridicule and embarrassment, and has suffered emotional distress and damage
77. The conduct of Defendant,- by and through the conduct of its agents, employees-, and/or
representatives, and the Defendant.’_s failure to make prompt remedial action to prevent continued
discrimination against the Plaintiff, deprived the Plaintiff of statutory rights under federal law.
78. The actions of the Defendant and/or its agents were willful_, wanton, and intentional, and
with malice or reckless indifference to the Plaintiff"s statutorily protected rights, thus entitling
Plaintiff to damages in the form of compensatory and punitive damages pursuant to federal law,
to punish the Defendant for its actions and to deter it, and others, from such action in the future
79. Plaintiff has suffered and will continue.to suffer both irreparable injury and compensable
damages as a result of Defendant’s discriminatory practices unless and until this I-Ionorable Court
grants relief
80. So that Plaintiff’s rights may be protected, Plaintiff has retained the undersigned counsel
who is entitled to attorney’s fees pursuant to. 42 U.'S.C. § 1988, the Civil .Rights Attorneys Fee
Award Act.
WHEREFORE, Plaintiffs' respectfully prays for the following relief against Defendant:
'a. Adjudge and decree that D`efendant has violated Title VII,- the FCRA, and 42 U.S..C. §
l981, and has done so willfully, intentionally, and with reckless disregard for Plaintiff s
rights; l
b'. Enter a judgment requiring that Defendant pay Plaintiff appropriate back pay, benefits‘

adjustment, and prejudgment interest at amounts to be proved at trial for the unlawful

 

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employment practices described herein;

c. Enter an award against Defendant and award Plaintiff compensatory damages for
mental anguish, personal suffering, and loss of enjoyment oflife;

d. Re_quire Defendant to reinstate Plaintiff to the position at the rate of pay and with the
full benefits Plaintiff Would have had Plaintiff not been discriminated against by

Defendant, or in lieu of reinstatement, award front _pa`y;

.e'. Award Plaintiff the costs of this acti'on, together with a reasonable attorneys' fees; and

f. Grant Plaintiff such additional relief as the Court deems just and proper under the
circumstances
'JURY I)EMAND

Plaintiff demands trial by jury of all issues triable as of right by jury.

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thorf"l\/IG geMiene, Esq.
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Dated: M

   

 

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